Case 24-11967-JKS   Doc 612-1   Filed 10/25/24   Page 1 of 41




                        Exhibit 1

               Proposed Bidding Procedures
               Case 24-11967-JKS             Doc 612-1        Filed 10/25/24        Page 2 of 41




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                             Chapter 11

BIG LOTS, INC., et al.,                                            Case No. 24-11967 (JKS)

                 Debtors. 1                                        (Jointly Administered)



                                         BIDDING PROCEDURES

        Big Lots, Inc. and certain of its affiliates (collectively, the “Debtors” or “Big Lots”) are
debtors and debtors in possession in the jointly administered chapter 11 cases (collectively, the
“Chapter 11 Cases”) currently pending in the United States Bankruptcy Court for the District
of Delaware (the “Court”) and have entered into that certain stalking horse Asset Purchase
Agreement, dated September 8, 2024 (as amended, modified or supplemented, the “Stalking
Horse APA”) 2 with Gateway BL Acquisition, LLC (the “Stalking Horse Bidder”).

        Pursuant to the Stalking Horse APA, and subject to the terms and conditions thereof, the
Stalking Horse Bidder has agreed to acquire all of the Debtors’ Assets (as defined therein) from
the Debtors and assume all of the Assumed Liabilities (as defined therein). To facilitate the
Debtors’ ability to attain the highest or otherwise best offer for their assets, and to maximize the
value of their estates, on ____________ __, 2024, the Court entered the Order (I) Approving
Bidding Procedures for Sale of Debtors’ Assets, (II) Approving the Stalking Horse Bid
Protections, (III) Scheduling Auction for, and Hearing To Approve, Sale of Debtors’ Assets,
(IV) Approving Form and Manner of Sale, Auction, and Sale Hearing, (V) Approving
Assumption and Assignment Procedures, and (VI) Granting Related Relief [D.I. [•]] (the
“Bidding Procedures Order”) pursuant to which the Bankruptcy Court, among other things,
approved these bidding procedures (these “Bidding Procedures”) to be employed to solicit bids
for the purchase of all, substantially all, or a substantial portion of the Debtors’ assets (including
those assets contemplated for purchase under the Stalking Horse APA) (collectively,

         1
           The debtors and debtors in possession in these chapter 11 cases, along with the last four digits of their
respective employer identification numbers, are as follows: Great Basin, LLC (6158); Big Lots, Inc. (9097); Big Lots
Management, LLC (7948); Consolidated Property Holdings, LLC (0984); Broyhill LLC (7868); Big Lots Stores -
PNS, LLC (5262); Big Lots Stores, LLC (6811); BLBO Tenant, LLC (0552); Big Lots Stores - CSR, LLC (6182);
CSC Distribution LLC (8785); Closeout Distribution, LLC (0309); Durant DC, LLC (2033); AVDC, LLC (3400);
GAFDC LLC (8673); PAFDC LLC (2377); WAFDC, LLC (6163); INFDC, LLC (2820); Big Lots eCommerce LLC
(9612); and Big Lots F&S, LLC (3277). The address of the debtors’ corporate headquarters is 4900 E. Dublin-
Granville Road, Columbus, OH 43081.
         2
            A copy of the Stalking Horse APA is available free of charge on the Debtors’ case information website
located at https://www.cases.ra.kroll.com/BigLots. Capitalized terms used but not otherwise defined herein shall have
the meanings ascribed to such terms in the Stalking Horse APA, the Motion, or the Bidding Procedures Order, as
applicable.
              Case 24-11967-JKS            Doc 612-1       Filed 10/25/24        Page 3 of 41




the “Bid Assets”). A party may participate in the Bidding Process (as defined herein) by
submitting a bid for (i) all or substantially all of the Bid Assets and/or (ii) one or more, or any
combination of, Bid Assets as that party may desire. These Bidding Procedures also provide
that the Debtors may consider competing bids (each, a “Chapter 11 Plan Bid”) in the form of
a chapter 11 plan of reorganization (a “Chapter 11 Plan Transaction”), subject to the
requirements set forth herein.

                  Any interested bidder should contact, as soon as practicable:

                             GUGGENHEIM SECURITIES, LLC3
                                     330 Madison Avenue
                                    New York, NY 10017
                                            Attn:
                  Adam.Rifkin@guggenheimpartners.com; (tel.) (212) 518-9070
                 Michael.Gottlieb@guggenheimpartners.com; (tel.) (212) 518-9607
                 Stuart.Erickson@guggenheimpartners.com; (tel.) (212) 518-9005

         These Bidding Procedures describe, among other things, (i) the Bid Assets offered for sale,
(ii) the manner in which bidders and bids become Qualified Bidders and Qualified Bids (each as
defined below), respectively, (iii) the conduct of the Auction (as defined below), if necessary,
(iv) the selection of the Successful Bidder(s) (as defined below), and (v) the approval by the Court
of the sale of the Bid Assets to the Successful Bidder(s).

        Throughout the Bidding Process, the Debtors, with the assistance of their advisors, will
regularly and timely consult with the following parties (collectively, the “Consultation Parties”):
(i) PNC Bank, National Association, solely in its capacity as DIP ABL Agent, Prepetition ABL
Agent, and lender under the DIP ABL Facility and Prepetition ABL Facility (in such capacities,
collectively, the “ABL Agent”); (ii) 1903P Loan Agent, LLC, solely in its capacity as DIP Term
Agent, Prepetition Term Loan Agent, and lender under the DIP Term Loan Facility and Prepetition
Term Loan Facility (in such capacities, the “Term Agent”); and (iii) any official committee
appointed in the Chapter 11 Cases (the “Committee”), including in each case the legal and
financial advisors thereto, as applicable. The Debtors will provide updates as reasonably
appropriate to the Consultation Parties as to the status of the Bidding Process.

1.      PARTICIPATION REQUIREMENTS

        (a)      Interested Parties

       Unless otherwise ordered by the Court for cause shown, to participate in the bidding
process described herein (the “Bidding Process”), each interested person or entity (each
an “Interested Party”) must deliver (unless previously delivered) the following items to
Guggenheim Securities:



       3
         Guggenheim Securities, LLC, in its capacity as the Debtors’ investment banker, is referred to herein as
“Guggenheim Securities.”




                                                       2
             Case 24-11967-JKS         Doc 612-1      Filed 10/25/24     Page 4 of 41




              i. an executed confidentiality agreement in form and substance
                 satisfactory to the Debtors (a “Confidentiality Agreement”);

             ii. a statement and other factual support demonstrating, to the
                 Debtors’ satisfaction, that the Interested Party has a bona fide
                 interest in purchasing some or all of the Bid Assets and which Bid
                 Assets the Interested Party intends to acquire;

             iii. a description of the nature and extent of any due diligence the
                  Interested Party wishes to conduct and the date in advance of the
                  Bid Deadline by which such due diligence will be completed; and

             iv. sufficient information, as ascertained by the Debtors, to allow the
                 Debtors, to determine that the Interested Party has the financial
                 wherewithal and any required internal corporate, legal, or other
                 authorizations to close a Sale Transaction pursuant to the Bidding
                 Procedures, which may include current audited financial
                 statements of the Interested Party (or such other form of financial
                 disclosure acceptable to the Debtors) or, if the Interested Party is
                 an entity formed for the purpose of acquiring some or all of the
                 Bid Assets, (a) current audited financial statements of the equity
                 holder(s) (the “Sponsor(s)”) of the Interested Party (or such other
                 form of financial disclosure acceptable to the Debtors) and (b) a
                 written commitment acceptable to the Debtors that the Sponsor(s)
                 are responsible for the Interested Party’s obligations in connection
                 with the Bidding Process.

       If the Debtors determine after receipt of the items identified above, that an Interested Party
has a bona fide interest in purchasing some or all of the Bid Assets, such Interested Party will be
deemed a “Potential Bidder” and the Debtors will provide such Potential Bidder with access to
the Debtors’ confidential electronic data room concerning the Bid Assets (the “Data Room”).
Each of PNC Bank, National Association, solely in its capacity as the ABL Agent, and 1903P Loan
Agent, LLC, solely in its capacity as the Term Agent, shall automatically be deemed a Potential
Bidder and shall not be required to submit any of the foregoing information.

       (b)     Due Diligence

       Until the Bid Deadline, in addition to granting access to the Data Room, the Debtors will
provide Potential Bidders with due diligence access and additional information as may be
requested by a Potential Bidder, to the extent that the Debtors determine that such requests are
reasonable and appropriate under the circumstances. All due diligence requests shall be directed
to Guggenheim Securities. The Debtors, with the assistance of Guggenheim Securities, will
coordinate all reasonable requests for additional information and due diligence access from
Potential Bidders.

       For any Potential Bidder that is a competitor of the Debtors (or an affiliate thereof), the
Debtors reserve the right to withhold any diligence materials that the Debtors deem commercially



                                                 3
             Case 24-11967-JKS         Doc 612-1      Filed 10/25/24      Page 5 of 41




sensitive or otherwise not appropriate for disclosure to such Potential Bidder, or to require that the
Potential Bidder enter into a “clean team” or similar arrangement acceptable to the Debtors in
order to receive such diligence materials.

       Unless otherwise determined by the Debtors, the availability of due diligence to a Potential
Bidder will cease if (i) the Potential Bidder does not become a Qualified Bidder or (ii) the Bidding
Process is terminated in accordance with its terms.

2.     QUALIFIED BIDS

        Each offer, solicitation, or proposal by a Potential Bidder must satisfy each of the following
conditions in order for such offer, solicitation, or proposal to be deemed a “Qualified Bid” and for
such Potential Bidder to be deemed a “Qualified Bidder,” unless any such conditions that are not
satisfied are waived by the Debtors in consultation with the Committee:

       (a)     Bid Deadline

        A Potential Bidder who desires to be deemed a Qualified Bidder must deliver to
Guggenheim Securities, with a copy to Davis Polk & Wardwell LLP (“Davis Polk”), 450
Lexington Avenue, New York, NY 10017 (Attn: Brian M. Resnick, Adam L. Shpeen, Stephen D.
Piraino, Jonah A. Peppiatt, and Ethan Stern), the Required Bid Documents (as defined below), so
as to be received no later than October 28, 2024 at 12:00 p.m. (prevailing Eastern Time) (the
“Bid Deadline”).

        The Debtors, without the need for further Court approval, may extend the Bid Deadline by
a reasonable period of time, so long as such extensions are consistent with the DIP Milestones set
forth in the DIP Credit Agreements or otherwise with the prior written consent of each DIP Agent,
if the Debtors believe that such extension would further the goal of attaining the highest or
otherwise best offer for the Bid Assets.

       (b)     Bid Requirements

       All bids must include the following items (collectively, the “Required Bid Documents”):

               •       a letter stating that the bidder’s offer is irrevocable until
                       consummation of a transaction involving the Bid Asset(s)
                       identified in such offer;

               •       other than for any Chapter 11 Plan Bid, a duly authorized
                       and executed purchase agreement based on the form Stalking
                       Horse APA, marked to show any revisions, including the
                       purchase price for the subject Bid Assets, together with all
                       exhibits and schedules thereto (including, a proposed form
                       of order approving the transaction(s) contemplated in such
                       purchase agreement). For the avoidance of doubt, a
                       “conceptual” or “issues list”-style markup of the form
                       Stalking Horse APA would not satisfy this requirement;




                                                  4
     Case 24-11967-JKS         Doc 612-1        Filed 10/25/24   Page 6 of 41




       •       each Chapter 11 Plan Bid must be accompanied by an
               executed investment agreement, signed by an authorized
               representative of such bidder, pursuant to which the bidder
               proposes to effectuate the Chapter 11 Plan Transaction, in
               the form of a recapitalization transaction effectuated
               pursuant to a chapter 11 plan of reorganization, and must
               provide for a fully-committed investment of capital in
               exchange for substantially all of the equity of the
               reorganized Debtors;

       •       written evidence (i) demonstrating financial wherewithal,
               operational ability, and corporate authorization to
               consummate the proposed transaction and (ii) to the extent
               applicable, of a firm commitment for financing to
               consummate the proposed transaction, in both cases,
               acceptable to the Debtors in their sole discretion; and

       •       a written acknowledgment that the bidder (i) has had an
               opportunity to conduct any and all due diligence regarding
               the subject Bid Assets, the Sale Transaction, and/or a
               Chapter 11 Plan Transaction, (ii) has relied solely upon its
               own independent review, investigation, and/or inspection of
               any documents and any other information in making the bid,
               (iii) did not rely upon any written or oral statements,
               representations, promises, warranties, or guaranties
               whatsoever, whether express, implied by operation of law,
               or otherwise, by the Debtors or any of their advisors
               (including Guggenheim Securities, AlixPartners, and Davis
               Polk) or other representatives regarding the bid, the Bid
               Assets, the Sale Transaction, the Chapter 11 Plan
               Transaction, or the completeness or accuracy of any
               information provided in connection therewith or with the
               Auction, except, solely with respect to the Debtors and their
               estates, as expressly stated in these Bidding Procedures, and
               (iv) the bidder did not engage in any collusive conduct and
               acted in good faith in submitting its bid.

A bid will be considered only if the bid:

       •       identifies the legal name of the purchaser (including any
               Sponsor(s), if the purchaser is an entity formed for the
               purpose of consummating the proposed transaction);

       •       other than for a Chapter 11 Plan Bid, identifies the Bid
               Asset(s) to be purchased and the Contract(s) and Lease(s) to
               be assumed;




                                            5
Case 24-11967-JKS      Doc 612-1       Filed 10/25/24       Page 7 of 41




 •     other than for a Chapter 11 Plan Bid, clearly states which
       liabilities of the Debtors or the Bid Assets would be
       assumed;

 •     sets forth the consideration, including the form thereof, for
       the Bid Asset(s) to be purchased and the Contract(s) and
       Lease(s) to be assumed (the “Bid Consideration”);
       provided that, if not a Partial Bid, the consideration must be
       at least equal to the following: (i) the consideration set forth
       in the Stalking Horse Bid; plus (ii) the aggregate amount of
       the Bid Protections (as defined below); plus (iii) $2,000,000
       additional consideration set forth in the Stalking Horse Bid
       (the “Minimum Overbid”);

 •     is not conditioned on (i) obtaining financing or (ii) further
       due diligence;

 •     includes a description of all governmental, licensing,
       regulatory, or other approvals or consents that are required
       to consummate the proposed transaction (including any
       antitrust approval related to the Hart-Scott-Rodino Antitrust
       Improvements Act of 1976, as amended), together with
       evidence satisfactory to the Debtors of the ability to obtain
       such approvals or consents as soon as reasonably
       practicable, and in no event later than 30 days after the
       submission of such Bid, as well as a description of any
       material contingencies or other conditions that will be
       imposed upon, or that will otherwise apply to, the
       obtainment or effectiveness of any such approvals or
       consents;

 •     if not a Partial Bid, such bid is not materially more
       burdensome, less favorable, or more conditional than the
       terms of the Stalking Horse APA, as determined by the
       Debtors in their sole discretion;

 •     if not a Partial Bid, such bid includes a purchase price
       sufficient to pay in full in cash all DIP Obligations and
       Prepetition Secured Obligations or otherwise be agreed to by
       the DIP Credit Parties and the Prepetition Secured Creditors,
       all in their sole discretion;

 •     if a Partial Bid, the sum of all Partial Bids collectively results
       in a purchase price sufficient to pay in full in cash all DIP
       Obligations and Prepetition Secured Obligations or
       otherwise be agreed to by DIP Credit Parties and the
       Prepetition Secured Creditors, all in their sole discretion;



                                   6
Case 24-11967-JKS     Doc 612-1      Filed 10/25/24     Page 8 of 41




 •     expressly states that the bidder agrees to serve as an
       Alternate Bidder (as defined below) if such bidder’s
       Qualified Bid is selected as the next highest or next best bid
       after the Successful Bid (as defined below) with respect to
       the Bid Assets;

 •     is accompanied by a cash deposit by wire transfer to an
       escrow agent selected by the Debtors (the “Deposit Agent”)
       in an amount equal to ten percent (10%) of the consideration
       set forth in connection with such bid (any such deposit,
       a “Good Faith Deposit”);

 •     sets forth the representatives that are authorized to appear
       and act on behalf of the bidder in connection with the
       proposed transaction;

 •     indicates that, with the exception of the Stalking Horse
       Bidder, the bidder will not seek any transaction or Break-Up
       Fee, Expense Reimbursement, or similar type of payment
       and that it waives any substantial contribution administrative
       expense claims under section 503(b) of the Bankruptcy
       Code;

 •     includes evidence of the bidder’s ability to comply with
       section 365 of the Bankruptcy Code (to the extent
       applicable), including providing adequate assurance of such
       bidder’s ability to perform in the future under any
       Contract(s) and Lease(s) proposed in its bid to be assumed
       by the Debtors and assigned to the bidder, in a form that
       would permit the Debtors to disseminate immediately such
       evidence to the non-Debtor counterparties to such
       Contract(s) and Lease(s), which such adequate assurance
       information may include: (i) the specific name of the
       proposed assignee, the proposed name under which the
       proposed assignee intends to operate the store if not the
       current trade-name of the Debtors, (ii) a corporate
       organizational chart or similar disclosure identifying
       corporate ownership and control, (iii) audited or unaudited
       financial statements, tax returns, bank account statements or
       annual reports; (iv) the proposed assignee’s intended use of
       the leased premises and a description of the proposed
       business to be conducted at the premises; (v) a contact
       person for the proposed assignee; and/or (vi) any other
       documentation that the Debtors may further request;

 •     indicates whether or not the bidder will assume all Cure
       Costs associated with any Contracts and Leases it intends to


                                 7
             Case 24-11967-JKS         Doc 612-1       Filed 10/25/24     Page 9 of 41




                       assume; and

               •       is received on or before the Bid Deadline (as such deadline
                       may be extended in accordance with these Bidding
                       Procedures).

         A bid received from a Potential Bidder will constitute a Qualified Bid only if it includes
all of the Required Bid Documents and meets all of the above requirements (other than a credit bid
described in Section 3 below), including, in the case of a Chapter 11 Plan Transaction, the
structure, confirmability, and feasibility of any proposed chapter 11 plan (including the proposed
time and costs estimated to be necessary to negotiate, document, and obtain confirmation of such
proposed chapter 11 plan), as determined by the Debtors. The Debtors shall have the right to deem
a bid a Qualified Bid even if such bid does not conform to one or more of the requirements above
or does not include one or more Required Bid Documents; provided that such bid, or, in the case
of a Partial Bid, the total amount of all Partial Bids, provides for a purchase price sufficient to pay
in full in cash all DIP Obligations and Prepetition Secured Obligations or otherwise be agreed to
by the DIP Credit Parties and the Prepetition Secured Creditors, in consultation with the
Committee. The Debtors will be authorized to approve joint bids in their reasonable discretion on
a case-by-case basis.

        If the Debtors receive a bid prior to the Bid Deadline that is not a Qualified Bid, the
Debtors may provide the bidder with the opportunity to remedy any deficiencies through and
after the Bid Deadline. If any bid is determined by the Debtors not to be a Qualified Bid, and
the applicable bidder fails to remedy such bid in accordance with these Bidding Procedures,
the Debtors, to the extent applicable, shall promptly instruct the Deposit Agent to return such
bidder’s Good Faith Deposit. Notwithstanding the foregoing, the Stalking Horse Bidder shall
be deemed a Qualified Bidder and the Stalking Horse Bid shall be deemed a Qualified Bid for
all purposes in connection with these Bidding Procedures (including with respect to any Partial
Bids), and the Stalking Horse Bidder shall, without any further action, be entitled to participate
in any Auction, including with respect to any Partial Bids.

        Notwithstanding any other provision of these Bidding Procedures, the Debtors may, in
consultation with the Consultation Parties, evaluate bids on any grounds consistent with applicable
law, including, but not limited to, (a) the amount of the purchase price, including non-cash
consideration, set forth in the bid, (b) the value to be provided to the Debtors under the bid, (c) any
benefit to the Debtors’ estates from any assumption of liabilities or waiver of liabilities, including
the release or replacement of letters of credit, (d) the transaction structure and execution risk,
including conditions to and certainty of closing, termination provisions, availability of financing
and financial wherewithal to meet all commitments, and required governmental or other approvals,
(e) the anticipated timing to closing and whether such timing is consistent with the Debtors’
adherence to the Approved Budget, (f) the impact on employees and employee claims against the
Debtors, (g) the presence of any governmental, licensing, regulatory, or other approvals or
consents in a bid, and the anticipated timing or likelihood of obtaining such approvals or consents,
(h) the impact on trade and other unsecured, priority, and administrative claim creditors, and (i)
any other factors the Debtors may reasonably deem relevant, in each case, consistent with their
fiduciary duties and applicable bankruptcy law. For the avoidance of doubt, the presence of any
governmental, licensing, regulatory, or other approvals or consents in a bid, and the anticipated



                                                  8
            Case 24-11967-JKS          Doc 612-1      Filed 10/25/24      Page 10 of 41




timing or likelihood of obtaining such approvals or consents, may be grounds for the Debtors in
their sole discretion, in consultation with the Consultation Parties, to determine that such bid (y) is
not a Qualified Bid or (z) is not higher or otherwise better than any other Qualified Bid.

        By submission of its bid, each Qualified Bidder shall be deemed to acknowledge and
represent that it (a) has reviewed, understands, and accepts these Bidding Procedures, (b) has
consented to the jurisdiction of the Court, (c) intends to consummate its Qualified Bid if it is
selected as the Successful Bidder, and (d) waives any and all rights (whether actual or potential)
to contest any of the Debtors’ determinations made during, or in connection with, any aspect of
the Bidding Process. Without the written consent of the Debtors, in consultation with the
Consultation Parties, a Qualified Bidder may not amend, modify, or withdraw its Qualified Bid,
except for proposed amendments to increase the amount or otherwise improve the terms of its
Qualified Bid, during the period that such Qualified Bid is required to remain irrevocable.

3.     CREDIT BID

        Pursuant to section 363(k) of the Bankruptcy Code and subject to the terms and conditions
set forth in the DIP Order (including, for the avoidance of doubt, paragraphs 42 and 43 therein),
the DIP Loan Documents, and the Prepetition Credit Documents, the DIP Credit Parties and the
Prepetition Secured Creditors, consistent with the terms of the Intercreditor Agreement, shall have
the right to credit bid up to the full amount of the applicable outstanding DIP Obligations and
Prepetition Secured Obligations, as the case may be, in any bulk or piecemeal sale of all,
substantially all, or any portion of the Bid Assets constituting DIP Collateral or Prepetition
Collateral, as applicable; provided that any such credit bid must be submitted no later than the Bid
Deadline and include cash consideration sufficient to satisfy the Carve Out, any senior liens on the
collateral that is subject to the credit bid (except to the extent otherwise agreed by the holders of
such senior liens in their sole and absolute discretion), and the applicable Bid Protections payable
to the Stalking Horse Bidder. If the DIP Credit Parties or the Prepetition Secured Creditors submit
a credit bid in accordance with this Section 3, and such bid is received by the Bid Deadline, such
bidder shall be deemed to be a Qualified Bidder and any such credit bid shall be deemed to be a
Qualified Bid (without the need for any Good Faith Deposit or satisfying any other conditions set
forth in Section 2).

4.     WIND-DOWN BUDGET

       Notwithstanding anything contained in these Bidding Procedures, at the closing of a Sale
Transaction, after paying in full in cash all DIP Obligations and Prepetition Secured Obligations,
the Debtors shall deposit into a segregated account any additional net cash proceeds to be used for
funding a reasonable wind-down budget negotiated in good faith (the “Wind-Down Budget”).

5.     BID PROTECTIONS

        Recognizing the Stalking Horse Bidder’s expenditure of time, energy and resources in
connection with the proposed transaction set forth in the Stalking Horse APA, and the benefit that
those efforts provided to the Debtors, their estates and creditors, and all other parties in interest,
the Debtors agreed to provide the following bid protections to the Stalking Horse Bidder, payable
if the Debtors consummate a sale pursuant to a Qualified Bid other than the Stalking Horse Bid (if



                                                  9
            Case 24-11967-JKS          Doc 612-1       Filed 10/25/24    Page 11 of 41




the assets subject to such sale include those to which the Stalking Horse Bid relates): (a) payment
of a break-up fee in an amount equal to $7.5 million (the “Break-Up Fee”) and (b) reimbursement
of the reasonable and documented fees and out-of-pocket expenses actually incurred by the
Stalking Horse Bidder (the “Expense Reimbursement” and, together with the Break-Up Fee, the
“Bid Protections”) in an amount up to $2.0 million; provided that the payment of any Break-Up
Fee and/or Expense Reimbursement shall be subject to the terms and conditions of the Stalking
Horse APA and the DIP Order, including that, notwithstanding anything to the contrary in the
Stalking Horse APA or the Bidding Procedures, the Bid Protections shall only be earned, due
and/or payable if (and the Debtors shall only be authorized to pay the Bid Protections if), prior to
the Bid Deadline, the Stalking Horse Bidder has delivered Debt Commitment Letters to the
Debtors evidencing committed Debt Financing.

        From the delivery of Debt Commitment Letters as set forth in paragraph 16 of the Bidding
Procedures Order until paid, the Break-Up Fee or Expense Reimbursement shall constitute allowed
administrative expense claim(s) arising in the Chapter 11 Cases under sections 503(b), 507(a)(2),
and 507(b) of the Bankruptcy Code; provided, however, that such administrative expense claim(s)
shall be subject to the Carve-Out and the Wind-Down Budget, and shall in no circumstance be
pari passu or senior to the claims granted to the DIP Credit Parties or the Prepetition Secured
Creditors; provided, further, that any requirement that the Stalking Horse Bidder file a proof of
claim for, or otherwise request allowance of, such administrative expense claim(s) is hereby
waived.

6.     AUCTION

        In the event that the Debtors timely receive more than one Qualified Bid, the Debtors shall
conduct an auction (the “Auction”) for the applicable Bid Assets. The Auction shall be conducted
in accordance with these Bidding Procedures and upon notice to all Qualified Bidders that have
submitted Qualified Bids. The Auction shall be conducted at the offices of Davis Polk, 450
Lexington Avenue, New York, NY 10017 on October 30, 2024 at 10:00 a.m. (prevailing Eastern
Time), or at such later time on such day or such other place as the Debtors, in consultation with
each DIP Agent, shall notify all Participating Parties (as defined below). If (a) no Qualified Bid
other than the Stalking Horse Bid is submitted by the Bid Deadline for the Bid Assets comprising
the Stalking Horse Bid, (b) multiple Partial Bids (as defined below) are submitted by the Bid
Deadline for non-overlapping lots of the Bid Assets that, in the aggregate, do not exceed the
amount of the Stalking Horse Bid for such Bid Assets, or (c) multiple Partial Bids are submitted
by the Bid Deadline for non-overlapping lots of Bid Assets excluded from the Stalking Horse Bid,
the Debtors may, in consultation with the Consultation Parties, elect to cancel the Auction and
seek approval of the transactions contemplated in the Stalking Horse Bid and Partial Bids, as
applicable, at the Sale Hearing (as defined below).

        If any of the Qualified Bids submitted by the Bid Deadline are structured as a purchase of
less than all or substantially all of the Debtors’ assets (each such bid, a “Partial Bid”), the Debtors
(in consultation with the Consultation Parties) may conduct separate auctions at the Auction for
each lot of assets (each, an “Auction Lot”) subject to a Partial Bid; provided that a Partial Bid
may not be a bid solely for assignment of individual or lots of Contracts or Leases. The Debtors
may, in consultation with the Consultation Parties, combine multiple Partial Bids into an Auction
Lot to compete against the Stalking Horse Bid provided, that the sum of all Partial Bids collectively



                                                  10
            Case 24-11967-JKS          Doc 612-1       Filed 10/25/24     Page 12 of 41




results in a purchase price sufficient to pay in full in cash all DIP Obligations and Prepetition
Secured Obligations or otherwise be agreed to by the DIP Credit Parties and the Prepetition
Secured Creditors, all in their sole discretion. The Debtors may designate each Auction Lot at any
time prior to the Auction.

         Only (i) representatives or agents (including legal and financial advisors) of the Debtors,
(ii) the Consultation Parties, (iii) the Qualified Bidders (including the Stalking Horse Bidder), (iv)
any Counterparty to a Contract or Lease subject to the Auction or (v) any other party in interest
(provided that those persons in categories (iv) and (v) request attendance at least two days prior to
the start of the Auction by emailing notice.biglots@davispolk.com, Attn.: Brian M. Resnick, Esq.,
Adam L. Shpeen, Esq., Stephen D. Piraino, Esq., Jonah A. Peppiatt, Esq., and Ethan Stern, Esq.)
(collectively, the “Participating Parties”), will be entitled to attend the Auction (and, in the case
of the parties listed in clauses (iv) and (v), such attendance shall be limited to Zoom or similar
videoconference), and only Qualified Bidders will be entitled to make any Subsequent Bids (as
defined below) at the Auction.

        Prior to the Auction, the Debtors will (a) notify each Qualified Bidder that has timely
submitted a Qualified Bid that its bid is a Qualified Bid and (b) provide all Qualified Bidders with
(i) copies of the Qualified Bid or combination of Qualified Bids that the Debtors believe, in
consultation with the Consultation Parties, is the highest or otherwise best offer
(the “Starting Bid”), (ii) an explanation of how the Debtors value the Starting Bid, and (iii) a list
identifying all of the Qualified Bidders. For the avoidance of doubt, the Starting Bid may be
comprised of multiple Qualified Bids if the aggregate consideration of such Qualified Bids is
higher and better than the Stalking Horse Bid. The Debtors shall also provide copies of such
Starting Bid (marked against the Stalking Horse Bid) to all of the Qualified Bidders (including the
Stalking Horse Bidder) and the Consultation Parties.

        The Debtors, in consultation with the Consultation Parties, may employ and announce at
the Auction additional procedural rules for conducting the Auction (e.g., the amount of time
allotted to submit Subsequent Bids); provided that such rules shall (a) not be inconsistent with the
Bankruptcy Code, the Bidding Procedures Order, or any other order of the Court entered in
connection herewith and (b) be disclosed to all Qualified Bidders.

        Bidding at the Auction will begin with the Starting Bid and continue, in one or more rounds
of bidding in the presence of all parties at the Auction, so long as during each round at least one
subsequent bid (a “Subsequent Bid”) is submitted by a Qualified Bidder that (a) improves upon
such Qualified Bidder’s immediately prior Qualified Bid and (b) the Debtors, in consultation with
the Consultation Parties, determine is (i) with respect to the first round, a higher or otherwise better
offer than the Starting Bid and (ii) with respect to subsequent rounds, a higher or otherwise better
offer than the Leading Bid, in each case taking into account other Qualified Bids for other Bid
Assets; provided that, with respect to the first round, any Qualified Bid must provide incremental
consideration at least equal to the Minimum Overbid. In each subsequent round after the first
round, the Debtors, in consultation with the Consultation Parties, may determine appropriate
minimum bid increments or requirements for each round of bidding.

       After the first round of bidding and between each subsequent round of bidding, as
applicable, the Debtors, in consultation with the Consultation Parties, will determine and announce



                                                  11
            Case 24-11967-JKS         Doc 612-1       Filed 10/25/24     Page 13 of 41




the bid or bids that they believe to be the highest or otherwise best offer or combination of offers
(the “Leading Bid”). Additional consideration in excess of the amount set forth in the Starting
Bid may include cash and/or non-cash consideration; provided that the value for such non-cash
consideration shall be determined by the Debtors, in consultation with the Consultation Parties.

       A round of bidding will conclude after each participating Qualified Bidder has had the
opportunity to submit a Subsequent Bid with full knowledge and written confirmation of the
Leading Bid.

       Notwithstanding anything herein to the contrary, any Subsequent Bid by the Stalking Horse
Bidder to the bid embodied in the Stalking Horse APA, in any and all rounds of bidding, will be
deemed to be comprised of a credit in the full amount of the Break-Up Fee and Expense
Reimbursement Amount plus a cash bid for the remainder of the Purchase Price.

        For the purpose of evaluating Subsequent Bids, the Debtors may require a Qualified Bidder
(other than the Stalking Horse Bidder) submitting a Subsequent Bid to submit, as part of its
Subsequent Bid, additional evidence (in the form of financial disclosure or credit-quality support
information or enhancement acceptable to the Debtors in their sole discretion) demonstrating such
Qualified Bidder’s ability to close the proposed transaction.

       The Debtors shall maintain a transcript of all bids made and announced at the Auction,
including the Starting Bid(s), all Subsequent Bid(s), the Leading Bid(s), the Alternative Bid(s) (as
defined below), and the Successful Bid(s).

       If a Qualified Bidder increases its bid at the Auction and is the Successful Bidder or
Alternate Bidder, such bidder must increase its Good Faith Deposit to an amount equal to ten
percent (10%) of the proposed purchase price submitted at the Auction within two days after the
Auction.

7.     SELECTION OF SUCCESSFUL BID(S) AND ALTERNATE BID(S)

        Prior to the conclusion of the Auction, the Debtors, in consultation with the Consultation
Parties, shall (a) review and evaluate each bid made at the Auction on the basis of financial and
contractual terms and other factors relevant to the Bidding Process, including those factors
affecting the speed and certainty of consummating the Sale Transaction and, in the case of a
Chapter 11 Plan Transaction, the structure, confirmability, and feasibility of any proposed chapter
11 plan (including the proposed time and costs estimated to be necessary to negotiate, document,
and obtain confirmation of such proposed chapter 11 plan), (b) determine and identify the highest
or otherwise best offer or collection of offers (the “Successful Bid(s)”), (c) determine and identify
the next highest or otherwise best offer or collection of offers (the “Alternate Bid(s)”), and (d)
notify all Qualified Bidders participating in the Auction of (i) the identity of the party or parties
that submitted the Successful Bid(s) (the “Successful Bidder(s)”), (ii) the amount and other
material terms of the Successful Bid(s), (iii) the identity of the party or parties that submitted the
Alternate Bid(s) (the “Alternate Bidder(s)”), and (iv) the amount and other material terms of the
Alternate Bid(s). Each Qualified Bidder shall agree and be deemed to agree to be the Alternate
Bidder if so designated. As soon as reasonably practicable after the conclusion of the Auction, the
Successful Bidder(s) and the applicable Debtors shall complete and execute all agreements,



                                                 12
              Case 24-11967-JKS             Doc 612-1          Filed 10/25/24   Page 14 of 41




instruments, and other documents necessary to consummate the applicable sale or other
transaction(s) contemplated by the applicable Successful Bid(s). Promptly following the selection
of the Successful Bid(s) and Alternate Bid(s), the Debtors will file a notice of the Successful Bid(s)
and Alternate Bid(s) with the Court, together with a proposed order approving the transaction(s)
contemplated therein (the “Sale Order”).

8.     THE SALE HEARING

        The hearing to consider the proposed Sale Order (the “Sale Hearing”) will be held on
November 12, 2024 at 1:30 p.m. (prevailing Eastern Time) 4 before the Honorable Judge J. Kate
Stickles, in the United States Bankruptcy Court for the District of Delaware, 824 North Market
Street, Wilmington, Delaware 19801, or by such other virtual or electronic means as may be
determined by the Court. The Sale Hearing may be adjourned by the Debtors, in consultation with
the Consultation Parties by an announcement of the adjourned date at a hearing before the Court
or by filing a notice on the Court’s docket. At the Sale Hearing, the Debtors will seek the Court’s
approval of the Successful Bid(s).

        The Debtors’ presentation to the Court of the Successful Bid(s) and Alternate Bid(s) will
not constitute the Debtors’ acceptance of such bid(s), which acceptance will only occur upon
approval of such bid(s) by the Court. Following the Court’s entry of the Sale Order, the Debtors
and the Successful Bidder(s) shall promptly proceed to consummate the transaction(s)
contemplated by the Successful Bid(s). If the Debtors and the Successful Bidder(s) fail to
consummate the proposed transaction(s) and Alternate Bidder(s) (other than the Stalking Horse
Bidder) have been previously identified, the Debtors shall file with the Court and post on the case
website, https://www.cases.ra.kroll.com/BigLots, a Notice of Intent to Proceed with Alternate
Bid(s), together with a copy of such Alternate Bidder’s proposed purchase agreement and financial
and other information regarding adequate assurance of future performance of the Contracts and
Leases it intends to assume (including the name of such Alternate Bidder and description of its
business), and serve the Notice of Intent to Proceed with Alternate Bid(s) on the Counterparties by
overnight delivery and electronic mail (if known), and the Counterparties shall have seven (7) days
from the date such Notice of Intent to Proceed with Alternative Bid(s) is filed to to file and serve
on the Objection Notice Parties an objection solely on the basis of adequate assurance of future
performance by such Alternate Bidder. If any objections are filed, the Debtors shall schedule a
hearing, which may be expedited, upon reasonable notice under the circumstances (which shall be
no less than seven (7) days after the Notice of Intent to Proceed with Alternate Bid(s) is filed),
with respect to such objections. For the avoidance of doubt, any approval of an Alternate Bidder
at the Sale Hearing shall be expressly subject to the right of Counterparties to object to the adequate
assurance of future performance by such Alternate Bidder in accordance with this section. If the
failure to consummate the transaction(s) contemplated by the Successful Bid(s) or Alternate
Bid(s), as applicable, is the result of a breach by the Successful Bidder(s) or Alternate Bidder(s),
as applicable (the “Breaching Bidder(s)”) of its (their) asset purchase agreement(s), the Debtors
reserve the right to seek all available remedies from such Breaching Bidder(s), subject to the terms
of the applicable asset purchase agreement.


       4
           This date remains subject to Court approval.




                                                          13
            Case 24-11967-JKS         Doc 612-1       Filed 10/25/24    Page 15 of 41




9.     RETURN OF GOOD FAITH DEPOSIT

        The Good Faith Deposits of all Qualified Bidders will be held in escrow by the Deposit
Agent and will not become property of the Debtors’ bankruptcy estates unless released to the
Debtors from escrow pursuant to the terms of the applicable escrow agreement or pursuant to
further order of the Court. The Deposit Agent will retain the Good Faith Deposits of the Successful
Bidder(s) and the Alternate Bidder(s) until the consummation of the transaction(s) contemplated
by the Successful Bid(s) or the Alternate Bid(s), as applicable, in accordance with Section 6 above,
except as otherwise ordered by the Court. The Good Faith Deposits (and all interest accrued
thereon) of the other Qualified Bidders will be returned promptly following the conclusion of the
Auction. At the closing of the transaction contemplated by the Successful Bid(s), the Successful
Bidder(s) will receive a credit in the amount of its Good Faith Deposit (plus all interest accrued
thereon). All remaining Good Faith Deposits of the Alternate Bidders (and all interest accrued
thereon) held by the Deposit Agent will be released by the Deposit Agent four business days after
the consummation of the transaction(s) contemplated by the Successful Bid(s), or as soon as
reasonably practicable thereafter; provided that the Deposit Agent will retain the Good Faith
Deposit of a Breaching Bidder pending a ruling by the Court as to the amount of damages owed,
if any, by such Breaching Bidder to the Debtors.

       Notwithstanding anything herein to the contrary, the terms under which the Stalking Horse
Bidder provided a Good Faith Deposit, and the terms of its use, release and return to the Stalking
Horse Bidder, will be governed by the Stalking Horse APA.

10.    AS IS, WHERE IS

        The sale of the Bid Assets shall be on an “as is, where is” basis and without representations
or warranties of any kind, nature, or description by the Debtors, their agents, or their estates,
except, solely with respect to the Debtors and their estates, as provided in a purchase agreement,
as approved by the Court (including the Stalking Horse APA).

11.    FREE AND CLEAR OF ANY AND ALL INTERESTS

        Except as otherwise provided in the Stalking Horse APA or another Successful Bidder(s)’s
purchase agreement, all of the Debtors’ right, title, and interest in and to the Bid Assets subject
thereto shall be sold free and clear of any pledges, liens, security interests, encumbrances, claims,
charges, options, and interests thereon (collectively, the “Interests”) to the maximum extent
permitted by section 363 of the Bankruptcy Code, with such Interests to attach to the net proceeds
of the sale of the Bid Assets with the same validity and priority as such Interests applied against
the Bid Assets.

12.    RESERVATION OF RIGHTS

        Except as otherwise provided in these Bidding Procedures or the Bidding Procedures
Order, the Debtors reserve the right, consistent with applicable bankruptcy law and all other orders
entered in the Chapter 11 Cases after consultation with the Consultation Parties, to:

               •       determine which Interested Parties are Potential Bidders;



                                                 14
            Case 24-11967-JKS         Doc 612-1       Filed 10/25/24    Page 16 of 41




               •       determine which bidders are Qualified Bidders;

               •       determine which bids are Qualified Bids;

               •       determine which Qualified Bid is the Starting Bid;

               •       determine which Qualified Bid is the highest or otherwise
                       best offer for the Bid Assets and which is the next highest or
                       otherwise best offer;

               •       reject any bid (other than the Stalking Horse Bid) that the
                       Debtors deem to be (a) inadequate or insufficient, (b) not in
                       conformity with the requirements of these Bidding
                       Procedures or the requirements of the Bankruptcy Code, the
                       Bankruptcy Rules, and the Local Rules, or (c) contrary to the
                       best interests of the Debtors and their estates;

               •       impose additional terms and conditions with respect to all
                       Potential Bidders (other than the Stalking Horse Bidder);

               •       cancel the Auction;

               •       waive the terms and conditions set forth herein with respect
                       to Potential Bidders

               •       extend the deadlines set forth herein, so long as such
                       extensions are consistent with the DIP Milestones set forth
                       in the DIP Credit Agreements or otherwise with the prior
                       written consent of each DIP Agent; and

               •       modify these Bidding Procedures and implement additional
                       procedural rules that the Debtors determine, in their sole
                       discretion consistent with applicable bankruptcy law and all
                       other orders entered in the Chapter 11 Cases, in consultation
                       with the Consultation Parties, will better promote the goals
                       of the Bidding Process and discharge the Debtors’ fiduciary
                       duties; provided, however, that nothing herein shall permit
                       the Debtors to modify the Bidding Procedures to reduce the
                       time provided for a party in interest to file an objection.

        Nothing in these Bidding Procedures requires the Debtors’ board of directors to take any
action, or to refrain from taking any action, with respect to these Bidding Procedures, to the extent
that the Debtors’ board of directors determines that taking such action, or refraining from taking
such action, is required to comply with applicable law or its fiduciary duties under applicable law.
Accordingly, at any time prior to the Court’s entry of a Sale Order, the Debtors may terminate the
sale process and pursue an alternative transaction.




                                                 15
            Case 24-11967-JKS          Doc 612-1       Filed 10/25/24     Page 17 of 41




        All Consultation Parties will be permitted to seek relief from the Court on an expedited
basis if they disagree with any actions or decision made by the Debtors as part of these Bidding
Procedures. The rights of all Consultation Parties with respect to all issues are expressly reserved
and not modified, waived, or impaired in any way by these Bidding Procedures.

13.    RELEVANT DATES


  October 21, 2024 at 1:30 p.m.
  (prevailing Eastern Time), or    Hearing to consider approval of the Bidding Procedures and Stalking
  as soon thereafter as the        Horse Bidder’s Bid Protections for entry of the Bidding Procedures
  Debtors may reasonably be        Order
  heard

  October 16, 2024                 Deadline for the Debtors to file Potential Assumed Contracts Schedule

  October 28, 2024 at 12:00
  p.m. (prevailing Eastern         Bid Deadline
  Time)

  October 30, 2024 at 10:00
                                   Auction (if any) to be held at the New York offices of Davis Polk
  a.m. (prevailing Eastern
                                   & Wardwell LLP
  Time)

  The earlier of (i) twenty-four
  (24) hours after conclusion of
                                  Deadline for the Debtors to file with the Court the Notice of Successful
  the Auction (if any) and (ii)
                                  Bidder and Proposed Assumption and Assignment Notice
  four (4) business days prior to
  the Objection Deadline

  November 6, 2024 at 4:00         Deadline to object to the Sale Transaction with the Successful Bidder,
  p.m. (prevailing Eastern         the Assumption and Assignment Objection Deadline and the Cure
  Time)                            Objection Deadline (together, the “Objection Deadline”)

  November 10, 2024 at 4:00
                                   Deadline for Debtors to Reply to Sale Objections, Assumption and
  p.m. (prevailing Eastern
                                   Assignment Objections, and Cure Objections (if any)
  Time)

  November 12, 2024 at 1:30
  p.m. (prevailing Eastern
                                   Hearing to consider approval of the Sale Transaction(s) and for entry of
  Time) or as soon thereafter as
                                   the Sale Order(s)
  the Debtors may reasonably
  be heard




                                                  16
Case 24-11967-JKS   Doc 612-1   Filed 10/25/24   Page 18 of 41




                         Exhibit 2

                    Form of Sale Notice
              Case 24-11967-JKS             Doc 612-1        Filed 10/25/24        Page 19 of 41




                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


In re:                                                            Chapter 11

BIG LOTS, INC., et al.,                                           Case No. 24-11967 (JKS)

                 Debtors. 1                                       (Jointly Administered)


    NOTICE OF SALE, BIDDING PROCEDURES, AUCTION, AND SALE HEARING

        PLEASE TAKE NOTICE that the above-captioned debtors and debtors in possession
(collectively, the “Debtors”) each filed a voluntary petition for relief under chapter 11 of title 11
of the United States Code (the “Bankruptcy Code”) in the United States Bankruptcy Court for
the District of Delaware (the “Court”) on September 9, 2024.

         PLEASE TAKE FURTHER NOTICE that, on September 9, 2024, the Debtors filed a
motion (the “Motion”) with the Court seeking entry of an order, among other things, approving
(a) procedures for the solicitation of bids (the “Bidding Procedures”) in connection with (i) the
proposed sale of substantially all of the Debtors’ assets to Gateway BL Acquisition, LLC (the
“Stalking Horse Bidder”) for approximately $760 million, consisting of $2.5 million in cash plus
the Debt Payoff Amount (as defined in the Stalking Horse APA) and the assumption of certain
liabilities, subject to the submission of higher or otherwise better offers, (ii) the Sale Transaction,
and (iii) the Auction, 2 (b) the form and manner of notice related to the Sale Transaction, and
(c) procedures for the assumption and assignment of Contracts and Leases in connection with the
Sale Transaction.

        PLEASE TAKE FURTHER NOTICE that, on [•], 2024, the Court entered an order (the
“Bidding Procedures Order”) approving, among other things, the Bidding Procedures, which
establish the key dates and times related to the Sale Transaction and the Auction. All parties




         1
           The debtors and debtors in possession in these chapter 11 cases, along with the last four digits of their
respective employer identification numbers, are as follows: Great Basin, LLC (6158); Big Lots, Inc. (9097); Big Lots
Management, LLC (7948); Consolidated Property Holdings, LLC (0984); Broyhill LLC (7868); Big Lots Stores -
PNS, LLC (5262); Big Lots Stores, LLC (6811); BLBO Tenant, LLC (0552); Big Lots Stores - CSR, LLC (6182);
CSC Distribution LLC (8785); Closeout Distribution, LLC (0309); Durant DC, LLC (2033); AVDC, LLC (3400);
GAFDC LLC (8673); PAFDC LLC (2377); WAFDC, LLC (6163); INFDC, LLC (2820); Big Lots eCommerce LLC
(9612); and Big Lots F&S, LLC (3277). The address of the debtors’ corporate headquarters is 4900 E. Dublin-
Granville Road, Columbus, OH 43081.
        2
           Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the
Motion or the Bidding Procedures, as applicable.
             Case 24-11967-JKS             Doc 612-1       Filed 10/25/24        Page 20 of 41




interested in bidding should carefully read the Bidding Procedures Order and the Bidding
Procedures in their entirety. 3

                    Contact Persons for Parties Interested in Submitting a Bid

       The Bidding Procedures set forth the requirements for submitting a Qualified Bid, and any
person interested in making an offer to purchase some or all of the Bid Assets must comply strictly
with the Bidding Procedures. Only Qualified Bids will be considered by the Debtors, in
accordance with the Bidding Procedures.

                   Any interested bidder should contact, as soon as practicable:

                              GUGGENHEIM SECURITIES, LLC4
                                     330 Madison Avenue
                                     New York, NY 10017
                                            Attn:
                   Adam.Rifkin@guggenheimpartners.com; (tel.) (212)518-9070
                  Michael.Gottlieb@guggenheimpartners.com; (tel.) (212)518-9607
                  Stuart.Erickson@guggenheimpartners.com; (tel.) (212)518-9005

                                   Obtaining Additional Information

        Copies of the Motion and the Bidding Procedures Order, as well as all related exhibits
(including the Bidding Procedures) and all other documents filed with the Court, are available free
of     charge     on     the    Debtors’      case    information       website      located     at
https://www.cases.ra.kroll.com/BigLots or can be requested by email at BigLotsInfo@ra.kroll.com.

                                    Important Dates and Deadlines 5

    1. Bid Deadline. The deadline to submit a Qualified Bid is October 28, 2024 at 12:00 p.m.
       (prevailing Eastern Time).

    2. Auction. In the event that the Debtors timely receive more than one Qualified Bid for the
       Bid Assets, and subject to the satisfaction of any further conditions set forth in the Bidding
       Procedures, the Debtors intend to conduct an Auction for the Bid Assets. The Auction, if
       one is held, will commence on October 30, 2024 at 10:00 a.m. (prevailing Eastern Time)
       at the offices of Davis Polk & Wardwell LLP, 450 Lexington Avenue, New York, NY
       10017.


        3
          To the extent of any inconsistencies between the Bidding Procedures and the summary descriptions of the
Bidding Procedures in this notice, the terms of the Bidding Procedures shall control in all respects.
       4
         Guggenheim Securities, LLC, in its capacity as the Debtors’ investment banker, is referred to herein as
“Guggenheim Securities.”
        5
          The following dates and deadlines may be extended by the Debtors, consistent with the terms of the DIP
Credit Agreements, or the Court in accordance with the terms of the Bidding Procedures and the Bidding Procedures
Order.




                                                       2
              Case 24-11967-JKS             Doc 612-1         Filed 10/25/24   Page 21 of 41




   3. Auction and Sale Objections Deadline. The deadline to file with the Court an objection
      to the Sale Order, the conduct of the Auction, or the Sale Transaction (collectively, the
      “Sale Objections”) is November 6, 2024 at 4:00 p.m. (prevailing Eastern Time) (the
      “Sale Objection Deadline”).

   4. Assumption and Assignment Objection Deadline. The deadline for Counterparties to
      file with the Court an objection to the potential or proposed assumption or assignment of
      their Assumed Contract or Assumed Lease, the Debtors’ proposed Cure Costs, if any, or
      the ability of a Successful Bidder to provide adequate assurance of future performance is
      November 6, 2024 at 4:00 p.m. (prevailing Eastern Time) (the “Assumption and
      Assignment Objection Deadline”).

   5. Sale Hearing. A hearing (the “Sale Hearing”) to consider the approval of Sale
      Transactions will be held before the Court on November 12, 2024 at 1:30 p.m. (prevailing
      Eastern Time) 6 or such other date as determined by the Court.

                                               Filing Objections

        Sale Objections, if any, must (a) be in writing, (b) state, with specificity, the legal and
factual bases thereof, (c) comply with the Bankruptcy Code, the Bankruptcy Rules, and the Local
Rules, (d) be filed with the Court no later than the Sale Objection Deadline, and (e) no later than
the Sale Objection Deadline, be served on (i) counsel to the Debtors, (y) Davis Polk & Wardwell
LLP, 450 Lexington Avenue, New York, NY 10017, Attn: Brian M. Resnick, Esq., Adam L.
Shpeen, Esq., Stephen D. Piraino, Esq., Jonah A. Peppiatt, Esq., and Ethan Stern, Esq.
(notice.biglots@davispolk.com) and (z) Morris, Nichols, Arsht & Tunnell LLP, 1201 N. Market
Street, 16th Floor, Wilmington, DE 19801, Attn: Robert J. Dehney, Sr., Esq., Andrew R. Remming,
Esq., Daniel B. Butz, Esq., Tamara K. Mann, Esq., and Casey B. Sawyer, Esq.
(biglots.mnat@morrisnichols.com), (ii) counsel to the ABL Agent, (y) Choate, Hall & Stewart
LLP, Two International Place, Boston, MA 02110, Attn: John F. Ventola, Esq.
(jventola@choate.com), Jonathan D. Marshall, Esq. (jmarshall@choate.com), and Jacob S. Lang,
Esq. (jslang@choate.com) and (z) Blank Rome LLP, 1201 N. Market Street, Suite 800,
Wilmington, DE 19801, Attn: Regina Stango Kelbon, Esq. (regina.kelbon@blankrome.com) and
Stanley Tarr, Esq. (stanley.tarr@blankrome.com), (iii) counsel to the Term Agent, (y) Otterbourg
P.C., 230 Park Avenue, New York, NY 10169, Attn: Chad B. Simon, Esq.
(CSimon@otterbourg.com), James V. Drew, Esq. (JDrew@otterbourg.com), and Sarah L.
Hautzinger, Esq. (shautzinger@otterbourg.com) and (z) Richards, Layton & Finger, P.A., 920 N.
King Street, Wilmington, DE 19801, Attn: John H. Knight, Esq. (knight@rlf.com), (iv) proposed
counsel to the Committee, (y) McDermott Will & Emery LLP, One Vanderbilt Avenue, New York,
NY 10017, Attn: Darren Azman, Esq. (dazman@mwe.com) and Kristin G. Going, Esq.
(kgoing@mwe.com), and (z) Cole Schotz P.C., 500 Delaware Avenue, Suite 1410, Wilmington,
DE 19801, Attn: Justin R. Alberto, Esq. (jalberto@coleschotz.com) and Stacy L. Newman, Esq.
(snewman@coleschotz.com), (v) counsel to the Stalking Horse Bidder, Kirkland & Ellis LLP, 601
Lexington Avenue, New York, New York 10022, Attn: Christopher Marcus, P.C.
(cmarcus@kirkland.com), Douglas A. Ryder, P.C. (douglas.ryder@kirkland.com), and Nicholas

       6
           This date remains subject to Court approval.




                                                          3
           Case 24-11967-JKS         Doc 612-1      Filed 10/25/24    Page 22 of 41




M. Adzima (nicholas.adzima@kirkland.com), and (vi) the U.S. Trustee, Caleb Boggs Federal
Building, 844 King Street, Suite 2207, Lockbox 35, Wilmington, Delaware 19801, Attn: Linda J.
Casey (linda.casey@usdoj.gov).

        CONSEQUENCES OF FAILING TO TIMELY ASSERT AN OBJECTION

        Any party or entity who fails to timely make an objection to a Sale Transaction on or
before the Sale Objection Deadline in accordance with the Bidding Procedures Order and this
Notice shall be forever barred from asserting any objection to the Sale Transaction, including
with respect to the transfer of the assets free and clear of all liens, claims, encumbrances, and
other interests.

                                NO SUCCESSOR LIABILITY

        The assets sold in any Sale Transaction will be free and clear of, among other things,
any claim arising from any conduct of the Debtors prior to the closing of the Sale Transaction,
whether known or unknown, whether due or to become due, whether accrued, absolute,
contingent, or otherwise, so long as such claim arises out of or relates to events occurring prior
to the closing of the Sale Transaction. Accordingly, as a result of a Sale Transaction, a
Successful Bidder will not be a successor to any of the Debtors by reason of any theory of law
or equity, and a Successful Bidder will have no liability, except as expressly provided in a
definitive agreement reached between the Debtors and the applicable Successful Bidder, for any
liens, claims, encumbrances, and other interests against or in any of the Debtors under any
theory of law, including successor liability theories.

                          [Remainder of page intentionally left blank]




                                                4
           Case 24-11967-JKS    Doc 612-1   Filed 10/25/24    Page 23 of 41




Dated:   [•], 2024
         Wilmington, Delaware
                                            MORRIS, NICHOLS, ARSHT & TUNNELL
                                            LLP

                                            /s/ [Draft]
                                            Robert J. Dehney, Sr. (No. 3578)
                                            Andrew R. Remming (No. 5120)
                                            Tamara K. Mann (No. 5643)
                                            Sophie Rogers Churchill (No. 6905)
                                            Casey B. Sawyer (No. 7260)
                                            1201 N. Market Street, 16th Floor
                                            Wilmington, DE 19801
                                            Tel: (302) 658-9200
                                            rdehney@morrisnichols.com
                                            aremming@morrisnichols.com
                                            tmann@morrisnichols.com
                                            srchurchill@morrisnichols.com
                                            csawyer@morrisnichols.com

                                            -and-

                                            DAVIS POLK & WARDWELL LLP

                                            Brian M. Resnick (admitted pro hac vice)
                                            Adam L. Shpeen (admitted pro hac vice)
                                            Stephen D. Piraino (admitted pro hac vice)
                                            Jonah A. Peppiatt (admitted pro hac vice)
                                            Ethan Stern (admitted pro hac vice)
                                            450 Lexington Avenue
                                            New York, NY 10017
                                            Tel.: (212) 450-4000
                                            brian.resnick@davispolk.com
                                            adam.shpeen@davispolk.com
                                            stephen.piraino@davispolk.com
                                            jonah.peppiatt@davispolk.com
                                            ethan.stern@davispolk.com

                                            Counsel to the Debtors and Debtors in
                                            Possession




                                        5
Case 24-11967-JKS   Doc 612-1    Filed 10/25/24   Page 24 of 41




                          Exhibit 3

      Form of Potential Assumption and Assignment Notice
              Case 24-11967-JKS             Doc 612-1        Filed 10/25/24        Page 25 of 41




                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


In re:                                                            Chapter 11

BIG LOTS, INC., et al.,                                           Case No. 24-11967 (JKS)

                 Debtors. 1                                       (Jointly Administered)


    NOTICE OF POTENTIAL ASSUMPTION AND ASSIGNMENT OF EXECUTORY
          CONTRACTS OR UNEXPIRED LEASES AND CURE AMOUNT

        PLEASE TAKE NOTICE that the above-captioned debtors and debtors in possession
(collectively, the “Debtors”) each filed a voluntary petition for relief under chapter 11 of title 11
of the United States Code (the “Bankruptcy Code”) in the United States Bankruptcy Court for
the District of Delaware (the “Court”) on September 9, 2024.

         PLEASE TAKE FURTHER NOTICE that, on September 9, 2024, the Debtors filed a
motion (the “Motion”) with the Court seeking entry of an order, among other things, approving
(a) procedures for the solicitation of bids (the “Bidding Procedures”) in connection with (i) the
proposed sale of substantially all of the Debtors’ assets to Gateway BL Acquisition, LLC (the
“Stalking Horse Bidder”) for approximately $760 million consisting of $2.5 million in cash plus
the Debt Payoff Amount (as defined in the Stalking Horse APA) and the assumption of certain
liabilities, subject to the submission of higher or otherwise better offers, (ii) the Sale Transaction
and (iii) the Auction, 2 (b) the form and manner of notice related to the Sale Transaction, and
(c) procedures for the assumption and assignment of Contracts and Leases in connection with the
Sale Transaction (the “Assumption and Assignment Procedures”).

        PLEASE TAKE FURTHER NOTICE that, on [•], 2024, the Court entered an order (the
“Bidding Procedures Order”) approving, among other things, the Bidding Procedures, which
establish the key dates and times related to the Sale Transaction, the Auction, and the Assumption
and Assignment Procedures.



         1
           The debtors and debtors in possession in these chapter 11 cases, along with the last four digits of their
respective employer identification numbers, are as follows: Great Basin, LLC (6158); Big Lots, Inc. (9097); Big Lots
Management, LLC (7948); Consolidated Property Holdings, LLC (0984); Broyhill LLC (7868); Big Lots Stores -
PNS, LLC (5262); Big Lots Stores, LLC (6811); BLBO Tenant, LLC (0552); Big Lots Stores - CSR, LLC (6182);
CSC Distribution LLC (8785); Closeout Distribution, LLC (0309); Durant DC, LLC (2033); AVDC, LLC (3400);
GAFDC LLC (8673); PAFDC LLC (2377); WAFDC, LLC (6163); INFDC, LLC (2820); Big Lots eCommerce LLC
(9612); and Big Lots F&S, LLC (3277). The address of the debtors’ corporate headquarters is 4900 E. Dublin-
Granville Road, Columbus, OH 43081.
        2
           Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the
Motion or the Bidding Procedures, as applicable.
            Case 24-11967-JKS         Doc 612-1       Filed 10/25/24     Page 26 of 41




        PLEASE TAKE FURTHER NOTICE that, upon the closing of the Sale Transaction, the
Debtors intend to assume and assign to the Successful Bidder(s) the Potential Assumed Contracts.
A schedule listing the Potential Assumed Contracts (the “Potential Assumed Contracts
Schedule”) is attached hereto and may also be accessed free of charge on the Debtors’ case
information website located at https://www.cases.ra.kroll.com/BigLots or can be requested by
email at BigLotsInfo@ra.kroll.com. In addition, the amount necessary to cure any prepetition
defaults thereunder (the “Cure Costs”), if any, necessary for the assumption and assignment of
the Potential Assumed Contracts are set forth on the Potential Assumed Contracts Schedule. Each
Cure Cost listed on the Potential Assumed Contracts Schedule represents all liabilities of any
nature of the Debtors arising under an Assumed Contract or Assumed Lease prior to the Petition
Date, whether known or unknown, whether due or to become due, whether accrued, absolute,
contingent, or otherwise, so long as such liabilities arise out of or relate to events occurring
prior to the Petition Date.

         YOU ARE RECEIVING THIS NOTICE BECAUSE YOU HAVE BEEN
IDENTIFIED AS A COUNTERPARTY TO A POTENTIAL ASSUMED CONTRACT.
Under the terms of the Assumption and Assignment Procedures, (a) at or prior to the closing of a
Sale Transaction, a Successful Bidder may elect, in its sole and absolute discretion, to (i) exclude
any Contract or Lease on the Potential Assumed Contracts Schedule (as amended or supplemented)
(in which case it shall become an Excluded Contract or Excluded Lease, as applicable), or
(ii) include on the Proposed Assumed Contracts Schedule any Contract or Lease listed on the
Potential Assumed Contracts Schedule (as amended or supplemented), by providing to the Debtors
written notice of its election to exclude or include such Contract or Lease, as applicable, (b) if the
Debtors or any Successful Bidder identify during the pendency of the Chapter 11 Cases (before or
after the closing of the applicable Sale Transaction) any Contract or Lease that is not listed on the
Proposed Assumed Contracts Schedule, and such Contract or Lease has not been rejected by the
Debtors, such Successful Bidder may, in its sole and absolute discretion, elect by written notice to
the Debtors to treat such Contract or Lease as an Assumed Contract or Assumed Lease, as
applicable, and the Debtors shall seek to assume and assign such Assumed Contract or Assumed
Lease in accordance with the Assumption and Assignment Procedures, and (c) following the
Auction, the Debtors may, in accordance with the applicable purchase agreement, or as otherwise
agreed by the Debtors and the Successful Bidder(s), at any time before the closing of the Sale
Transaction, modify the previously stated Cure Costs associated with any Proposed Assumed
Contract in accordance with the Assumption and Assignment Procedures. The Assumption and
Assignment Procedures further provide that any Counterparty whose previously-stated Cure Cost
is modified will receive notice thereof and an opportunity to file a Supplemental Assumption and
Assignment Objection. The assumption and assignment of the Contracts and Leases on the
Potential Assumed Contracts Schedule is not guaranteed and is subject to approval by the
Court and the Debtors’ or Successful Bidder’s right to remove an Assumed Contract or
Assumed Lease from the Potential Assumed Contracts Schedule and Proposed Assumed
Contracts Schedule.

                               Obtaining Additional Information

        Copies of the Motion and the Bidding Procedures Order, as well as all related exhibits
(including the Bidding Procedures) and all other documents filed with the Court, are available free




                                                  2
           Case 24-11967-JKS         Doc 612-1      Filed 10/25/24    Page 27 of 41




of     charge    on     the     Debtors’     case     information     website   located     at
https://www.cases.ra.kroll.com/BigLots or can be requested by email BigLotsInfo@ra.kroll.com.

                        Filing Assumption and Assignment Objections

        Pursuant to the Assumption and Assignment Procedures, any Counterparty may object to
the potential or proposed assumption or assignment of its Assumed Contract or Assumed Lease,
the Debtors’ proposed Cure Costs, if any, or the ability of a Successful Bidder to provide adequate
assurance of future performance (an “Assumption and Assignment Objection”). All
Assumption and Assignment Objections must (a) be in writing, (b) comply with the Bankruptcy
Code, the Bankruptcy Rules, and the Local Rules, (c) state, with specificity, the legal and factual
bases thereof, including, if applicable, the Cure Costs the Counterparty believes are required to
cure any alleged defaults under the relevant Assumed Contract or Assumed Lease, (d)(i) for
objections relating to proposed Cure Costs, be filed no later than November 6, 2024 at 4:00 p.m.
(prevailing Eastern Time) (the “Cure Objection Deadline”) and (ii) for all other objections,
November 6, 2024 at 4:00 p.m. (prevailing Eastern Time) (the “Assumption and Assignment
Objection Deadline”), and (e) be served on (i) proposed counsel to the Debtors, (y) Davis Polk &
Wardwell LLP, 450 Lexington Avenue, New York, NY 10017, Attn: Brian M. Resnick, Esq.,
Adam L. Shpeen, Esq., Stephen D. Piraino, Esq., Jonah A. Peppiatt, Esq., and Ethan Stern, Esq.
(notice.biglots@davispolk.com) and (z) Morris, Nichols, Arsht & Tunnell LLP, 1201 N. Market
Street, 16th Floor, Wilmington, DE 19801, Attn: Robert J. Dehney, Sr., Esq., Andrew R. Remming,
Esq., Daniel B. Butz, Esq., Tamara K. Mann, Esq., and Casey B. Sawyer, Esq.
(biglots.mnat@morrisnichols.com), (ii) counsel to the ABL Agent, (y) Choate, Hall & Stewart
LLP, Two International Place, Boston, MA 02110, Attn: John F. Ventola, Esq.
(jventola@choate.com), Jonathan D. Marshall, Esq. (jmarshall@choate.com), and Jacob S. Lang,
Esq. (jslang@choate.com) and (z) Blank Rome LLP, 1201 N. Market Street, Suite 800,
Wilmington, DE 19801, Attn: Regina Stango Kelbon, Esq. (regina.kelbon@blankrome.com) and
Stanley Tarr, Esq. (stanley.tarr@blankrome.com), (iii) counsel to the Term Agent, (y) Otterbourg
P.C., 230 Park Avenue, New York, NY 10169, Attn: Chad B. Simon, Esq.
(CSimon@otterbourg.com), James V. Drew, Esq. (JDrew@otterbourg.com), and Sarah L.
Hautzinger, Esq. (shautzinger@otterbourg.com) and (z) Richards, Layton & Finger, P.A., 920 N.
King Street, Wilmington, DE 19801, Attn: John H. Knight, Esq. (knight@rlf.com), (iv) proposed
counsel to the Committee, (y) McDermott Will & Emery LLP, One Vanderbilt Avenue, New York,
NY 10017, Attn: Darren Azman, Esq. (dazman@mwe.com) and Kristin G. Going, Esq.
(kgoing@mwe.com), and (z) Cole Schotz P.C., 500 Delaware Avenue, Suite 1410, Wilmington,
DE 19801, Attn: Justin R. Alberto, Esq. (jalberto@coleschotz.com) and Stacy L. Newman, Esq.
(snewman@coleschotz.com), (v) counsel to the Stalking Horse Bidder, Kirkland & Ellis LLP, 601
Lexington Avenue, New York, New York 10022, Attn: Christopher Marcus, P.C.
(cmarcus@kirkland.com), Douglas A. Ryder, P.C. (douglas.ryder@kirkland.com), and Nicholas
M. Adzima (nicholas.adzima@kirkland.com), and (vi) the U.S. Trustee, Caleb Boggs Federal
Building, 844 King Street, Suite 2207, Lockbox 35, Wilmington, Delaware 19801, Attn: Linda J.
Casey (linda.casey@usdoj.gov) (collectively, the “Objection Notice Parties”).

       Pursuant to the Assumption and Assignment Procedures, objections to the potential
assumption and assignment of an Assumed Contract or Assumed Lease by a party whose Contract
or Lease is listed on a Supplemental Assumed Contracts Schedule (a “Supplemental Assumption
and Assignment Objection”) with respect to the ability of a Successful Bidder to provide



                                                3
             Case 24-11967-JKS             Doc 612-1       Filed 10/25/24        Page 28 of 41




adequate assurance of future performance or relating to the Cure Costs (to the extent modified
form the previously-stated amount) must (a) be in writing, (b) comply with the Bankruptcy Code,
the Bankruptcy Rules, and the Local Rules, (c) state, with specificity, the legal and factual bases
thereof, and (d) by no later than 14 days from the date of service of such Supplemental
Assumption and Assignment Notice, (i) be filed with the Court and (ii) be served on the
Objection Notice Parties.

         Objections to the Sale Order, the conduct of the Auction, or the Sale Transaction, if any,
must (a) be in writing, (b) state, with specificity, the legal and factual bases thereof, (c) comply
with the Bankruptcy Code, the Bankruptcy Rules, and the Local Rules, and (d) by no later than
November 6, 2024 at 4:00 p.m. (prevailing Eastern Time) (the “Sale Objection Deadline”) be
(i) filed with the Court and (ii) served on the Objection Notice Parties.

         CONSEQUENCES OF FAILING TO TIMELY ASSERT AN OBJECTION

        Any Counterparty to a Contract or Lease who fails to timely make an objection to the
potential assumption and assignment of such Contract or Lease, the Debtors’ proposed Cure
Costs or the ability of the Successful Bidder to provide adequate assurance of future
performance on or before the Assumption and Assignment Objection Deadline in accordance
with the Assumption and Assignment Procedures, the Bidding Procedures Order, and this
Notice (or in the case of a Supplemental Assumption and Assignment Objection, by 14 days
from the date of service of such Supplemental Assumption and Assignment Notice) shall be
deemed to have consented to the assumption and assignment of such Contract or Lease,
including the Cure Costs (if any), set forth on a Potential Assumed Contracts Schedule or a
Supplemental Assumed Contracts Schedule, and shall be forever barred from asserting any
objection or claims against the Debtors, the Successful Bidder, or the property of any such
parties relating to the assumption and assignment of such Contract or Lease, including
asserting additional Cure Costs with respect to such Contract or Lease. Notwithstanding
anything to the contrary in such Contract or Lease, or any other document, the Cure Costs set
forth on a Potential Assumed Contracts Schedule or a Supplemental Assumed Contracts
Schedule shall be controlling and will be the only amount necessary to cure outstanding defaults
under the applicable Assumed Contract or Assumed Lease under section 365(b) of the
Bankruptcy Code arising out of or related to any events occurring prior to the Petition Date,
whether known or unknown, whether due or to become due, whether accrued, absolute,
contingent, or otherwise, so long as such liabilities arise out of or relate to events occurring
prior to the Petition Date.

                                Other Important Dates and Deadlines 3

       In addition to the dates and deadlines described above with respect to filing Assumption
and Assignment Objections, Cure Objections, and Supplemental Assumption and Assignment
Objections, note the following important dates and deadlines:



        3
          The following dates and deadlines may be extended by the Debtors, consistent with the terms of the DIP
Credit Agreements, or the Court pursuant to the terms of the Bidding Procedures and the Bidding Procedures Order.




                                                       4
          Case 24-11967-JKS             Doc 612-1         Filed 10/25/24   Page 29 of 41




1. Auction. In the event that the Debtors timely receive more than one Qualified Bid for Bid
   Assets, and subject to the satisfaction of any further conditions set forth in the Bidding
   Procedures, the Debtors intend to conduct an Auction for the Bid Assets. The Auction, if
   one is held, will commence on October 30, 2024 at 10:00 a.m. (prevailing Eastern Time)
   at the offices of Davis Polk & Wardwell LLP, 450 Lexington Avenue, New York, NY
   10017.


2. Sale Hearing. A hearing to consider the approval of a proposed Sale Transaction will be
   held before the Court on November 12, 2024 at 1:30 p.m. (prevailing Eastern Time), 4
   or such other date as determined by the Court.

                            [Remainder of page intentionally left blank]




   4
       This date remains subject to Court approval.




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           Case 24-11967-JKS    Doc 612-1     Filed 10/25/24    Page 30 of 41




Dated:   [•], 2024
         Wilmington, Delaware
                                            MORRIS, NICHOLS, ARSHT & TUNNELL
                                            LLP

                                            /s/ [Draft]
                                            Robert J. Dehney, Sr. (No. 3578)
                                            Andrew R. Remming (No. 5120)
                                            Tamara K. Mann (No. 5643)
                                            Sophie Rogers Churchill (No. 6905)
                                            Casey B. Sawyer (No. 7260)
                                            1201 N. Market Street, 16th Floor
                                            Wilmington, DE 19801
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                                            rdehney@morrisnichols.com
                                            aremming@morrisnichols.com
                                            tmann@morrisnichols.com
                                            srchurchill@morrisnichols.com
                                            csawyer@morrisnichols.com

                                            -and-

                                            DAVIS POLK & WARDWELL LLP

                                            Brian M. Resnick (admitted pro hac vice)
                                            Adam L. Shpeen (admitted pro hac vice)
                                            Stephen D. Piraino (admitted pro hac vice)
                                            Jonah A. Peppiatt (admitted pro hac vice)
                                            Ethan Stern (admitted pro hac vice)
                                            450 Lexington Avenue
                                            New York, NY 10017
                                            Tel.: (212) 450-4000
                                            brian.resnick@davispolk.com
                                            adam.shpeen@davispolk.com
                                            stephen.piraino@davispolk.com
                                            jonah.peppiatt@davispolk.com
                                            ethan.stern@davispolk.com

                                            Counsel to the Debtors and Debtors in
                                            Possession




                                        6
Case 24-11967-JKS   Doc 612-1   Filed 10/25/24   Page 31 of 41




                         Exhibit 4

     Form of Proposed Assumption and Assignment Notice
              Case 24-11967-JKS             Doc 612-1        Filed 10/25/24        Page 32 of 41




                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


In re:                                                            Chapter 11

BIG LOTS, INC., et al.,                                           Case No. 24-11967 (JKS)

                 Debtors. 1                                       (Jointly Administered)


     NOTICE OF PROPOSED ASSUMPTION AND ASSIGNMENT OF EXECUTORY
           CONTRACTS OR UNEXPIRED LEASES AND CURE AMOUNT

        PLEASE TAKE NOTICE that the above-captioned debtors and debtors in possession
(collectively, the “Debtors”) each filed a voluntary petition for relief under chapter 11 of title 11
of the United States Code (the “Bankruptcy Code”) in the United States Bankruptcy Court for
the District of Delaware (the “Court”) on September 9, 2024.

        PLEASE TAKE FURTHER NOTICE that, on September 9, 2024, the Debtors filed a
motion (the “Motion”) with the Court seeking entry of an order, among other things, approving
(a) procedures for the solicitation of bids in connection with the Sale Transaction and the Auction
(the “Bidding Procedures”), 2 (b) the form and manner of notice related to the Sale Transaction,
and (c) procedures for the assumption and assignment of Contracts and Leases in connection with
the Sale Transaction (the “Assumption and Assignment Procedures”).

        PLEASE TAKE FURTHER NOTICE that, on [•], 2024, the Court entered an order (the
“Bidding Procedures Order”) approving, among other things, the Bidding Procedures, which
establish the key dates and times related to the Sale Transaction, the Auction, and the Assumption
and Assignment Procedures.

       PLEASE TAKE FURTHER NOTICE that, on October 30, 2024 at 10:00 a.m.
(prevailing Eastern Time), the Debtors held an Auction at the offices of Davis Polk & Wardwell
LLP, 450 Lexington Avenue, New York, NY 10017.




         1
           The debtors and debtors in possession in these chapter 11 cases, along with the last four digits of their
respective employer identification numbers, are as follows: Great Basin, LLC (6158); Big Lots, Inc. (9097); Big Lots
Management, LLC (7948); Consolidated Property Holdings, LLC (0984); Broyhill LLC (7868); Big Lots Stores -
PNS, LLC (5262); Big Lots Stores, LLC (6811); BLBO Tenant, LLC (0552); Big Lots Stores - CSR, LLC (6182);
CSC Distribution LLC (8785); Closeout Distribution, LLC (0309); Durant DC, LLC (2033); AVDC, LLC (3400);
GAFDC LLC (8673); PAFDC LLC (2377); WAFDC, LLC (6163); INFDC, LLC (2820); Big Lots eCommerce LLC
(9612); and Big Lots F&S, LLC (3277). The address of the debtors’ corporate headquarters is 4900 E. Dublin-
Granville Road, Columbus, OH 43081.
        2
           Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the
Motion or the Bidding Procedures, as applicable.
            Case 24-11967-JKS        Doc 612-1      Filed 10/25/24     Page 33 of 41




        PLEASE TAKE FURTHER NOTICE that, upon the closing of the Sale Transaction, the
Debtors intend to assume and assign to the Successful Bidder(s) the Proposed Assumed Contracts.
A schedule listing the Proposed Assumed Contracts (the “Proposed Assumed Contracts
Schedule”) is attached hereto and may also be accessed free of charge on the Debtors’ case
information website located at https://www.cases.ra.kroll.com/BigLots or can be requested by
email at BigLotsInfo@ra.kroll.com. In addition, the amount necessary to cure any prepetition
defaults thereunder (the “Cure Costs”), if any, necessary for the assumption and assignment of
the Proposed Assumed Contracts are set forth on the Proposed Assumed Contracts Schedule. Each
Cure Cost listed on the Proposed Assumed Contracts Schedule represents all liabilities of any
nature of the Debtors arising under an Assumed Contract or Assumed Lease prior to the Petition
Date, whether known or unknown, whether due or to become due, whether accrued, absolute,
contingent, or otherwise, so long as such liabilities arise out of or relate to events occurring
prior to the Petition Date. Pursuant to the Assumption and Assignment Procedures, all
Assumption and Assignment Objections relating to a proposed Cure Cost (a “Cure Objection”)
must have been filed and served no later than November 6, 2024 at 4:00 p.m. (prevailing Eastern
Time), and a Counterparty’s failure to timely and properly file and serve its Cure Objection shall
be (a) deemed to have consented to the Cure Costs (if any) set forth on the Potential Assumed
Contracts Schedule (or a Supplemental Assumed Contracts Schedule, if applicable) and (b) forever
barred from asserting any Cure Objection against the Debtors, the Successful Bidder, or the
property of any such parties relating to such Counterparty’s Assumed Contract(s) or Assumed
Lease(s).

        YOU ARE RECEIVING THIS NOTICE BECAUSE YOU HAVE BEEN
IDENTIFIED AS A COUNTERPARTY TO A PROPOSED ASSUMED CONTRACT.
Under the terms of the Assumption and Assignment Procedures, (a) at or prior to the closing of a
Sale Transaction, the Successful Bidder(s) may elect, in their sole and absolute discretion, to
(i) exclude any Contract or Lease on the Proposed Assumed Contracts Schedule (as amended or
supplemented) (in which case it shall become an Excluded Contract or Excluded Lease, as
applicable) or (ii) include on the Proposed Assumed Contracts Schedule any Contract or Lease
listed on the Potential Assumed Contracts Schedule (as amended or supplemented), by providing
to the Debtors written notice of its election to exclude or include such Contract or Lease, as
applicable, (b) if the Debtors or the Successful Bidder(s) identify during the pendency of the
Chapter 11 Cases (before or after the closing of the applicable Sale Transaction) any Contract or
Lease that is not listed on the Proposed Assumed Contracts Schedule, and such Contract or Lease
has not been rejected by the Debtors, such Successful Bidder(s) may, in their sole and absolute
discretion, elect by written notice to the Debtors to treat such Contract or Lease as an Assumed
Contract or Assumed Lease, as applicable, and the Debtors shall seek to assume and assign such
Assumed Contract or Assumed Lease in accordance with the Assumption and Assignment
Procedures, and (c) following the Auction, the Debtors may, in accordance with the applicable
purchase agreement, or as otherwise agreed by the Debtors and the Successful Bidder(s), at any
time before the closing of the Sale Transaction, modify the previously stated Cure Costs associated
with any Proposed Assumed Contract in accordance with the Assumption and Assignment
Procedures. The Assumption and Assignment Procedures further provide that any Counterparty
whose previously-stated Cure Cost is modified will receive notice thereof and an opportunity to
file a Supplemental Assumption and Assignment Objection. The assumption and assignment of
the Contracts and Leases on the Proposed Assumed Contracts Schedule is not guaranteed



                                                2
           Case 24-11967-JKS         Doc 612-1      Filed 10/25/24    Page 34 of 41




and is subject to approval by the Court and the Debtors’ or Successful Bidder’s right to
remove an Assumed Contract or Assumed Lease from the Proposed Assumed Contracts
Schedule.

                              Obtaining Additional Information

        Copies of the Motion and the Bidding Procedures Order, as well as all related exhibits
(including the Bidding Procedures) and all other documents filed with the Court, are available free
of     charge     on     the    Debtors’      case    information       website      located     at
https://www.cases.ra.kroll.com/BigLots or can be requested by email at BigLotsInfo@ra.kroll.com.

                                       Filing Objections

        Pursuant to the Assumption and Assignment Procedures, objections to the proposed
assumption and assignment of an Assumed Contract or Assumed Lease (an “Assumption and
Assignment Objection”) with respect to the ability of a Successful Bidder to provide adequate
assurance of future performance must (a) be in writing, (b) comply with the Bankruptcy Code, the
Bankruptcy Rules, and the Local Rules, (c) state, with specificity, the legal and factual bases
thereof (including, to the extent modified from the previously stated amount, the Cure Costs), (d)
by no later than November 6, 2024 at 4:00 p.m. (prevailing Eastern Time) (the “Assumption
and Assignment Objection Deadline”), (i) be filed with the Court and (ii) be served on
(1) counsel to the Debtors, (y) Davis Polk & Wardwell LLP, 450 Lexington Avenue, New York,
NY 10017, Attn: Brian M. Resnick, Esq., Adam L. Shpeen, Esq., Stephen D. Piraino, Esq., Jonah
A. Peppiatt, Esq., and Ethan Stern, Esq. (notice.biglots@davispolk.com) and (z) Morris, Nichols,
Arsht & Tunnell LLP, 1201 N. Market Street, 16th Floor, Wilmington, DE 19801, Attn: Robert J.
Dehney, Sr., Esq., Andrew R. Remming, Esq., Daniel B. Butz, Esq., Tamara K. Mann, Esq., and
Casey B. Sawyer, Esq. (biglots.mnat@morrisnichols.com), (2) counsel to the ABL Agent, (y)
Choate, Hall & Stewart LLP, Two International Place, Boston, MA 02110, Attn: John F. Ventola,
Esq. (jventola@choate.com), Jonathan D. Marshall, Esq. (jmarshall@choate.com) and (z) Blank
Rome LLP, 1201 N. Market Street, Suite 800, Wilmington, DE 19801, Attn: Regina Stango
Kelbon,       Esq.      (regina.kelbon@blankrome.com)         and      Stanley     Tarr,     Esq.
(stanley.tarr@blankrome.com), (3) counsel to the Term Agent, (y) Otterbourg P.C., 230 Park
Avenue, New York, NY 10169, Attn: Chad B. Simon, Esq. (CSimon@otterbourg.com), James V.
Drew,       Esq.     (JDrew@otterbourg.com),        and     Sarah      L.    Hautzinger,     Esq.
(shautzinger@otterbourg.com) and (z) Richards, Layton & Finger, P.A., 920 N. King Street,
Wilmington, DE 19801, Attn: John H. Knight, Esq. (knight@rlf.com), (4) proposed counsel to the
Committee, (y) McDermott Will & Emery LLP, One Vanderbilt Avenue, New York, NY 10017,
Attn: Darren Azman, Esq. (dazman@mwe.com) and Kristin G. Going, Esq. (kgoing@mwe.com),
and (z) Cole Schotz P.C., 500 Delaware Avenue, Suite 1410, Wilmington, DE 19801, Attn: Justin
R.    Alberto,     Esq.     (jalberto@coleschotz.com)     and    Stacy    L.    Newman,      Esq.
(snewman@coleschotz.com), (5) counsel to the Stalking Horse Bidder, Kirkland & Ellis LLP, 601
Lexington Avenue, New York, New York 10022, Attn: Christopher Marcus, P.C.
(cmarcus@kirkland.com), Douglas A. Ryder, P.C. (douglas.ryder@kirkland.com), and Nicholas
M. Adzima (nicholas.adzima@kirkland.com), and (6) the U.S. Trustee, Caleb Boggs Federal
Building, 844 King Street, Suite 2207, Lockbox 35, Wilmington, Delaware 19801. Attn: Linda J.
Casey (linda.casey@usdoj.gov) (collectively, the “Objection Notice Parties”).




                                                3
              Case 24-11967-JKS             Doc 612-1         Filed 10/25/24   Page 35 of 41




         Objections to the Sale Order, the conduct of the Auction, or the Sale Transaction, if any,
must (a) be in writing, (b) state, with specificity, the legal and factual bases thereof, (c) comply
with the Bankruptcy Code, the Bankruptcy Rules, and the Local Rules, and (d) by no later than
November 6, 2024 at 4:00 p.m. (prevailing Eastern Time) (the “Sale Objection Deadline”) be
(i) filed with the Court and (ii) served on the Objection Notice Parties.

       A hearing to consider the approval of the proposed Sale Transaction(s) will be held before
the Court on November 12, 2024 at 1:30 p.m. (prevailing Eastern Time) 3 or such other date as
determined by the Court.

           CONSEQUENCES OF FAILING TO TIMELY ASSERT AN OBJECTION

          Any Counterparty to an Assumed Contract or Assumed Lease who fails to timely make
an objection to the proposed assumption and assignment of such Assumed Contract or Assumed
Lease, the Debtors’ proposed Cure Costs or the ability of the Successful Bidder to provide
adequate assurance of future performance on or before the Assumption and Assignment
Objection Deadline in accordance with the Assumption and Assignment Procedures, the
Bidding Procedures Order, and this Notice (or in the case of a Supplemental Assumption and
Assignment Objection, by 14 days from the date of service of such Supplemental Assumption
and Assignment Notice) shall be deemed to have consented to the assumption and assignment
of such Assumed Contract or Assumed Lease, including with respect to the ability of the
Successful Bidder(s) to provide adequate assurance of future performance and the Debtors’
proposed Cure Costs, to the extent modified from the previously stated amount, and shall be
forever barred from asserting any objection or claims against the Debtors, the Successful
Bidder(s), or the property of any such parties relating to the assumption and assignment of such
Assumed Contract or Assumed Lease (including asserting additional Cure Costs with respect to
such Assumed Contract or Assumed Lease). Notwithstanding anything to the contrary in such
Assumed Contract or Assumed Lease, or any other document, the Cure Costs set forth on the
Proposed Assumed Contracts Schedule (as amended or supplemented) shall be controlling and
will be the only amount necessary to cure outstanding defaults under the applicable Assumed
Contract or Assumed Lease under section 365(b) of the Bankruptcy Code arising out of or
related to any events occurring prior to the Petition Date, whether known or unknown, whether
due or to become due, whether accrued, absolute, contingent, or otherwise, so long as such
liabilities arise out of or relate to events occurring prior to the Petition Date.

                               [Remainder of page intentionally left blank]




       3
           This date remains subject to Court approval.




                                                          4
           Case 24-11967-JKS    Doc 612-1     Filed 10/25/24    Page 36 of 41




Dated:   [•], 2024
         Wilmington, Delaware
                                            MORRIS, NICHOLS, ARSHT & TUNNELL
                                            LLP

                                            /s/ [Draft]
                                            Robert J. Dehney, Sr. (No. 3578)
                                            Andrew R. Remming (No. 5120)
                                            Tamara K. Mann (No. 5643)
                                            Sophie Rogers Churchill (No. 6905)
                                            Casey B. Sawyer (No. 7260)
                                            1201 N. Market Street, 16th Floor
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                                            rdehney@morrisnichols.com
                                            aremming@morrisnichols.com
                                            tmann@morrisnichols.com
                                            srchurchill@morrisnichols.com
                                            csawyer@morrisnichols.com

                                            -and-

                                            DAVIS POLK & WARDWELL LLP

                                            Brian M. Resnick (admitted pro hac vice)
                                            Adam L. Shpeen (admitted pro hac vice)
                                            Stephen D. Piraino (admitted pro hac vice)
                                            Jonah A. Peppiatt (admitted pro hac vice)
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                                            Tel.: (212) 450-4000
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                                            adam.shpeen@davispolk.com
                                            stephen.piraino@davispolk.com
                                            jonah.peppiatt@davispolk.com
                                            ethan.stern@davispolk.com

                                            Counsel to the Debtors and Debtors in
                                            Possession




                                        5
Case 24-11967-JKS   Doc 612-1   Filed 10/25/24     Page 37 of 41




                          Exhibit 5

             Form of Notice of Successful Bidder
              Case 24-11967-JKS             Doc 612-1        Filed 10/25/24        Page 38 of 41




                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


In re:                                                            Chapter 11

BIG LOTS, INC., et al.,                                           Case No. 24-11967 (JKS)

                 Debtors. 1                                       (Jointly Administered)


    NOTICE OF SUCCESSFUL BIDDER FOR THE SALE OF THE DEBTORS’ ASSETS

               PLEASE TAKE NOTICE that, on September 9, 2024, the above-captioned Debtors
filed the Motion of Debtors for Entry of Orders (I) (A) Approving Bidding Procedures for Sale of
Debtors’ Assets, (B) Approving the Stalking Horse Bid Protections, (C) Scheduling Auction for,
and Hearing To Approve, Sale of Debtors’ Assets, (D) Approving Form and Manner of Notices of
Sale, Auction, and Sale Hearing, and (E) Approving Assumption and Assignment Procedures, (II)
(A) Approving Sale of Debtors’ Assets Free and Clear of Liens, Claims, Interests, and
Encumbrances and (B) Authorizing Assumption and Assignment of Executory Contracts and
Unexpired Leases, and (III) Granting Related Relief [D.I. 18] (the “Bidding Procedures
Motion”).

                 PLEASE TAKE FURTHER NOTICE that on _________, 2024, the United
States Bankruptcy Court for the District of Delaware (the “Court”) entered the Order
(A) Approving Bidding Procedures for Sale of Debtors’ Assets, (B) Approving the Stalking Horse
Bid Protections, (C) Scheduling Auction for, and Hearing To Approve, Sale of Debtors’ Assets,
(D) Approving Form and Manner of Notices of Sale, Auction, and Sale Hearing, and
(E) Approving Assumption and Assignment Procedures [D.I. [•]] (the “Bidding Procedures
Order”) 2 by which the Court, among other things, approved procedures (the “Bidding
Procedures”) to be used in connection with (i) one or more sales of the Debtors’ assets free and
clear of all liens, claims, encumbrances, and other interests, and (ii) an auction (the “Auction”)
pursuant to section 363 of the Bankruptcy Code.

             PLEASE TAKE FURTHER NOTICE that, pursuant to the Bidding Procedures
Order, the Court approved Gateway BL Acquisition, LLC, an affiliate of Nexus Capital

         1
           The debtors and debtors in possession in these chapter 11 cases, along with the last four digits of their
respective employer identification numbers, are as follows: Great Basin, LLC (6158); Big Lots, Inc. (9097); Big Lots
Management, LLC (7948); Consolidated Property Holdings, LLC (0984); Broyhill LLC (7868); Big Lots Stores -
PNS, LLC (5262); Big Lots Stores, LLC (6811); BLBO Tenant, LLC (0552); Big Lots Stores - CSR, LLC (6182);
CSC Distribution LLC (8785); Closeout Distribution, LLC (0309); Durant DC, LLC (2033); AVDC, LLC (3400);
GAFDC LLC (8673); PAFDC LLC (2377); WAFDC, LLC (6163); INFDC, LLC (2820); Big Lots eCommerce LLC
(9612); and Big Lots F&S, LLC (3277). The address of the debtors’ corporate headquarters is 4900 E. Dublin-
Granville Road, Columbus, OH 43081.
2
    Capitalized terms use but not defined herein are defined in the Bidding Procedures Order.
            Case 24-11967-JKS         Doc 612-1      Filed 10/25/24     Page 39 of 41




Management LP as the Stalking Horse Bidder for certain of the Debtors’ assets (the “Acquired
Assets”) pursuant to the Asset Purchase Agreement, dated as of September 8, 2024, by and among
Big Lots, Inc. and each of its subsidiaries and the Stalking Horse Bidder (the “Stalking Horse
Bid”).
                PLEASE TAKE FURTHER NOTICE that the bid deadline for competing
Qualified Bids was October 28, 2024 at 12:00 p.m. (Prevailing Eastern Time) (the “Bid Deadline”),
and the Auction was scheduled for October 30, 2024 at 10:00 a.m. (Prevailing Eastern Time).
Prior to the Bid Deadline, the Debtors received [•] Qualified Bid[s] in addition to the Stalking
Horse Bid.
               [PLEASE TAKE FURTHER NOTICE that, in accordance with the Bidding
Procedures and the Bidding Procedures Order, the Auction was held on October 30, 2024.]

               [PLEASE TAKE FURTHER NOTICE that, at the conclusion of the Auction, the
Debtors selected the bid from ___________ (the “Successful Bidder”) as the highest and best bid
(the “Successful Bid”). The Debtors further selected the bid from _____________ (the
“Alternative Bidder”) as the next highest or next best bid.]

                PLEASE TAKE FURTHER NOTICE that pursuant to the Bidding Procedures
Order, the Debtors are potentially assuming and assigning certain contracts and leases to the
Successful Bidder (the “Potential Assumed Contracts”). The list of Potential Assumed Contracts
will be filed with the Court in advance of the Sale Hearing.

               PLEASE TAKE FURTHER NOTICE that the Debtors will seek approval of the
Sale of the Acquired Assets to the Successful Bidder at the hearing currently scheduled for
November 12, 2024 at 1:30 p.m. (Prevailing Eastern Time) before the Honorable Judge J. Kate
Stickles, United States Bankruptcy Judge for the District of Delaware, at 824 North Market Street,
5th Floor, Courtroom #6, Wilmington, Delaware 19801. The hearing may be adjourned from time
to time without further notice to creditors or other parties in interest other than by announcement
of the adjournment in open court or by notice filed on the docket in these chapter 11 cases.

                 PLEASE TAKE FURTHER NOTICE that if you object to the Sale Transaction
to the Successful Bidder or to the proposed assumption and assignment of an executory contract
or unexpired lease or the proposed cure cost related to such assumption and assignment (each such
objection, a “Supplemental Sale Objection”), your objection must (i) be in writing, (ii) conform
to the applicable provisions of the Bankruptcy Rules, the Local Rules and any orders of the Court,
(iii) state with particularity the legal and factual basis for the objection and the specific grounds
therefor, and (iv) be filed with the Court and served so as to be actually received no later than
November 6, 2024 at 4:00 p.m. (ET) by the following parties: (1) counsel to the Debtors, (y) Davis
Polk & Wardwell LLP, 450 Lexington Avenue, New York, NY 10017, Attn: Brian M. Resnick,
Esq., Adam L. Shpeen, Esq., Stephen D. Piraino, Esq., and Ethan Stern, Esq.
(notice.biglots@davispolk.com) and (z) Morris, Nichols, Arsht & Tunnell LLP, 1201 N. Market
Street, 16th Floor, Wilmington, DE 19801, Attn: Robert J. Dehney, Sr., Esq., Andrew R. Remming,
Esq., Daniel B. Butz, Esq., Tamara K. Mann, Esq., and Casey B. Sawyer, Esq.
(biglots.mnat@morrisnichols.com), (2) counsel to the ABL Agent, (y) Choate, Hall & Stewart
LLP, Two International Place, Boston, MA 02110, Attn: John F. Ventola, Esq.
(jventola@choate.com), Jonathan D. Marshall, Esq. (jmarshall@choate.com) and (z) Blank Rome



                                                 2
           Case 24-11967-JKS        Doc 612-1      Filed 10/25/24    Page 40 of 41




LLP, 1201 N. Market Street, Suite 800, Wilmington, DE 19801, Attn: Regina Stango Kelbon, Esq.
(regina.kelbon@blankrome.com) and Stanley Tarr, Esq. (stanley.tarr@blankrome.com), (3)
counsel to the Term Agent, (y) Otterbourg P.C., 230 Park Avenue, New York, NY 10169, Attn:
Chad B. Simon, Esq. (CSimon@otterbourg.com), James V. Drew, Esq. (JDrew@otterbourg.com),
and Sarah L. Hautzinger, Esq. (shautzinger@otterbourg.com) and (z) Richards, Layton & Finger,
P.A., 920 N. King Street, Wilmington, DE 19801, Attn: John H. Knight, Esq. (knight@rlf.com),
(4) proposed counsel to the Committee, (y) McDermott Will & Emery LLP, One Vanderbilt
Avenue, New York, NY 10017, Attn: Darren Azman, Esq. (dazman@mwe.com) and Kristin G.
Going, Esq. (kgoing@mwe.com), and (z) Cole Schotz P.C., 500 Delaware Avenue, Suite 1410,
Wilmington, DE 19801, Attn: Justin R. Alberto, Esq. (jalberto@coleschotz.com) and Stacy L.
Newman, Esq. (snewman@coleschotz.com), (5) counsel to the Stalking Horse Bidder, Kirkland
& Ellis LLP, 601 Lexington Avenue, New York, New York 10022, Attn: Christopher Marcus, P.C.
(cmarcus@kirkland.com), Douglas A. Ryder, P.C. (douglas.ryder@kirkland.com), and Nicholas
M. Adzima (nicholas.adzima@kirkland.com), and (6) the U.S. Trustee, Caleb Boggs Federal
Building, 844 King Street, Suite 2207, Lockbox 35, Wilmington, Delaware 19801, Attn: Linda J.
Casey (linda.casey@usdoj.gov).

               PLEASE TAKE FURTHER NOTICE that copies of the Bidding Procedures
Order and all related exhibits and other documents filed with the Court are available for review
free     of    charge      on     the     Debtors’     Case     Information      Website,      at
https://www.cases.ra.kroll.com/BigLots.

                         [Remainder of Page Intentionally Left Blank]




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           Case 24-11967-JKS   Doc 612-1   Filed 10/25/24   Page 41 of 41




Dated: October [•], 2024
Wilmington, Delaware
                                      MORRIS, NICHOLS, ARSHT & TUNNELL LLP

                                      /s/ DRAFT
                                      Robert J. Dehney, Sr. (No. 3578)
                                      Andrew R. Remming (No. 5120)
                                      Tamara K. Mann (No. 5643)
                                      Sophie Rogers Churchill (No. 6905)
                                      Casey B. Sawyer (No. 7260)
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                                      csawyer@morrisnichols.com

                                      -and-
                                      Brian M. Resnick (admitted pro hac vice)
                                      Adam L. Shpeen (admitted pro hac vice)
                                      Stephen D. Piraino (admitted pro hac vice)
                                      Jonah A. Peppiatt (admitted pro hac vice)
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                                      Counsel to the Debtors and Debtors in Possession




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